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     ASSOCIATION
 9
10                         UNITED STATES DISTRICT COURT
11                        SOUTHERN DISTRICT OF CALIFORNIA
12
13   WELK RESORT GROUP, INC., a                   Case No.: 3:17-cv-01499-L-AGS
14   California corporation; and WELK
     RESORTS PLATINUM OWNERS                      SECOND AMENDED COMPLAINT
15   ASSOCIATION, a California non-profit         FOR:
16   corporation,
                                                  1. Intentional Interference with
                                    Plaintiffs,   Contractual Relations
17                                                2. Violation of 18 U.S.C. 1961, et seq.
     v.                                           3. Civil Conspiracy
18                                                4. Violation of the California Unfair
     REED HEIN & ASSOCIATES, LLC, dba             Competition Law, Business &
19                                                Professions Code Sections 17200, et seq.
     TIMESHARE EXIT TEAM, a Washington            5. Violation of the California Vacation
20   limited liability company; SCHROETER         Ownership and Time-Share Act,
     GOLDMARK & BENDER, P.S., a                   Business & Professions Code Sections
21                                                11245, et seq.
     Washington professional corporation; and     6. Violation of the California False
22   KEN B. PRIVETT, PLC, an Oklahoma             Advertising Law, Business &
     limited liability company,                   Professions Code Sections 17500, et seq.
23                                                7. False Advertising in Violation of the
                                  Defendants.     Lanham Act, 15 U.S.C. 1125
24
25                                                DEMAND FOR JURY TRIAL (to all
                                                  claims where available)
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27
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 1         By way of this Complaint, Plaintiffs Welk Resort Group, Inc., and the Welk
 2   Resorts Platinum Owners Association (collectively, “Welk”), aver against Defendants
 3   Reed Hein & Associates, LLC (doing business as Timeshare Exit Team), Schroeter
 4   Goldmark & Bender, P.S., and Ken B. Privett, PLC, (collectively, “Defendants”), as
 5   follows:
 6                                       INTRODUCTION
 7         1.     The Vacation ownership industry (commonly known as “timeshare”) has
 8   grown into a nearly $60 billion dollar a year industry. In the last decade, a cottage
 9   industry has sprung up where unscrupulous organizations called “timeshare exit
10   companies” target and victimize legitimate vacation ownership companies, like Welk,
11   and their owners. Timeshare exit companies utilize false and misleading advertising and
12   promises, to entice timeshare owners into paying large sums of money, up front, to the
13   exit company. The exit company instructs the timeshare owners to stop making the
14   required payments under their contracts to the vacation ownership companies and the
15   vacation owners associations. These exit companies then utilize a portion of their ill-
16   gotten gains to pay attorneys to step in between the vacation ownership companies and
17   the timeshare owners and stop the flow of communication between them. Vacation
18   ownership companies are then forced to pursue their legal remedies, such as recovering
19   the timeshare ownership through foreclosure. At the same time, the exit company takes
20   credit for getting the timeshare owner out of their timeshare contract without
21   consequence, when, in fact, they simply used a fraudulent scheme to shield the timeshare
22   owner from discovering that, among other harm, their credit has been damaged for
23   defaulting on their contractual financial obligations.
24         2.     Even more disturbing is the use of attorneys to perpetuate this fraudulent
25   scheme, which has caused tens of millions of dollars in damages to vacation ownership
26   companies and vacation owners associations. In exchange for large amounts of money
27   from the exit companies, the attorneys violate their ethical and legal duties to further
28   victimize timeshare owners. To be sure, the exit companies pay the attorneys directly and
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 1   instruct the attorneys not to communicate with the timeshare owners. The attorneys then
 2   follow the exit company’s instructions to write form letters to the vacation ownership
 3   company, sometimes falsely alleging the company committed some wrongdoing, and
 4   stating that they now “represent” the timeshare owner. The law firms then demand that
 5   all further communications to the timeshare owner by the vacation ownership company
 6   must stop and instead be made only to the attorney. Many times, the timeshare owner is
 7   not even aware that they are represented by an attorney; the attorney has not spoken to
 8   the timeshare owner and the attorney conducts no investigation into the facts before
 9   sending letters. By stopping the flow of information to the timeshare owner (among other
10   things), in exchange for a share of the ill-gotten gains, the attorneys perpetuate the
11   fraudulent scheme and make it possible for the exit companies to interfere with vacation
12   ownership companies’ contracts at the expense of timeshare owners. The victimization of
13   the vacation ownership companies and the timeshare owners by the exit companies and
14   the attorneys must stop, and as stated in more detail below, Welk is petitioning this court
15   for help.
16
17                       Background to the Vacation Ownership Industry
18         3.    Vacation ownership provides owners with a shared right to use designated
19   resorts or properties and has been a key component of the vacation industry since the
20   1970s. Each year in the U.S., the vacation ownership industry contributes billions of
21   dollars towards the hospitality and leisure economy and enables millions of families to
22   enjoy vacation accommodations without the burdens associated with buying a second
23   home or vacation property. Last year alone, this industry generated more than $10.6
24   billion in annual sales of new units, with over 180,000 vacation owner units in operation
25   across the country, collectively producing jobs, supporting local economies, and
26   contributing to tax revenues. Per the American Resort Development Association
27   (“ARDA”), the industry’s trade association, 9.2 million households in the U.S. were
28   vacation owners in 2016.
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 1            4.     The economic impact of this industry spans across the globe. In 2015, the
 2   industry produced over $57 billion in direct economic output, nearly $17 billion in taxes,
 3   and supported 1.3 million jobs. As an expansive, global industry with properties in over
 4   120 countries, vacation ownerships provide a truly diverse experience.
 5            5.     Vacation ownership also impacts the California economy. Eight percent of
 6   all U.S. vacation ownership units are located in California, along with a growing base of
 7   new and expanding resorts. In 2015, the industry provided more than 24,000 jobs and
 8   $1.3 billion in salaries and wages, and an estimated $3.6 billion in consumer and business
 9   spending to local economies, including $267 million in local and state tax revenues for
10   California. In all, California’s tourism industry saw $10.3 billion in tax revenue in 2016,
11   proving that “California is a very popular destination, both nationally and
12   internationally. 1”
13                                               Welk Resorts
14            6.     Welk was founded in 1964 by famed band leader and entertainer, Lawrence
15   Welk, in Northern San Diego County, and grew from a hotel, golf course, and restaurant
16   on a few hundred acres into one of the leaders in the vacation ownership industry.
17   Headquartered in the San Diego, California area, Welk is unique from many of its
18   Florida-based competitors.
19            7.     Welk now develops and operates multiple resorts in the U.S. and Mexico.
20   Most of Welk’s resorts are in California, located in the San Diego, Palm Springs, and
21   Lake Tahoe areas. Welk also has resorts in the Branson, Missouri, and Cabo San Lucas,
22   Mexico areas. Welk’s resorts have earned top marks and awards in the industry and are
23   consistently recognized for their high quality. Welk is a family and employee-owned
24   company, and has won numerous industry awards, including Employer of the Year,
25   Project of the Year, and Most Innovative Company.
26            8.     Welk employs approximately 1,400 people in California. It paid over $71
27
28   1
         http://www.latimes.com/business/la-fi-ca-economic-impact-20170504-story.html
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 1   million in salaries and wages to California residents in 2016 and provides an estimated
 2   economic impact of over $114 million to the state. Welk has over 56,000 owners in its
 3   vacation ownership program and sees tens of thousands of guests and families visit its
 4   resorts each year. In 2016, Welk saw approximately 65,000 guests check in for their
 5   vacations at its California resorts.
 6                                          Timeshare Exit Team
 7         9.     Over the past several years, a cottage industry has sprung up to target
 8   vacation ownership companies like Welk and disrupt the valid legal contracts between
 9   resorts and their owners. Known as “timeshare exit companies,” these schemes falsely
10   promise and advertise that they have the ability get vacation owners released from their
11   existing financial obligations to their resorts without consequences. Although they call
12   themselves “consumer protection firms,” they are nothing of the sort. Their strategy
13   involves telling owners not to pay their bills so that their ownership is lost to foreclosure.
14   Because these companies demand that the vacation ownership company send all
15   correspondence to them, or the attorneys with whom they divide the spoils, the owners
16   are typically unaware of what happened until they discover their credit is significantly
17   hurt. Timeshare exit companies charge consumers thousands of dollars in upfront fees for
18   this alleged “service.”
19         10.    Reed Hein & Associates, LLC (operating as “Timeshare Exit Team” or
20   “TET”) and its co-conspirators have utilized illegal and unethical business practices to
21   defraud thousands of vacation owners. Defendants’ scheme to disrupt Welk’s contractual
22   relationships with its vacation owners involves using fraudulent advertising, and making
23   false statements and unrealistic promises to unsuspecting owners, in order to extract
24   exorbitant, unwarranted fees. Defendants’ fraudulent scheme interferes with Welk’s
25   business by impeding Welk’s ability to communicate with its owners, and by misleading
26   Welk’s owners into defaulting on their financial obligations to both the resort developer,
27   Welk Resort Group, Inc., and the vacation owners association, Welk Resorts Platinum
28   Owners Association (the “Association”), by falsely guaranteeing that there will be no
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 1   consequences to the vacation owner’s credit scores if they default. Their illegal scheme
 2   has caused severe consequences for unsuspecting Welk vacation owners and for the Welk
 3   business. Their schemes have caused financial and reputational damage to Welk, which
 4   has enjoyed more than 50 years of providing high-quality vacation ownership
 5   opportunities and resort stays to millions of people.
 6         11.    Reed Hein & Associates, LLC, in concert with its co-conspirators and as
 7   part of a wide-ranging scheme, has intentionally interfered in Welk contracts by leading
 8   Welk’s owners to believe that TET has a relationship with Welk and works with Welk to
 9   “dissolve” owners’ contracts and repair negative credit reporting information. In reality,
10   Reed Hein & Associates, LLC (which is not a law firm) is systematically and
11   intentionally soliciting Welk vacation owners under the trade name “Timeshare Exit
12   Team,” in a fraudulent scheme designed to induce Welk owners to breach their contracts
13   with and payment obligations to Welk—all while steering them to instead pay $5,000, or
14   more, to TET, which TET then illegally splits with its lawyer co-defendants. As a result
15   of this wide-ranging, fraudulent racketeering scheme, Welk Resort Group and Welk
16   Resorts Platinum Owners Association have no other option but to seek justice for
17   themselves and injunctive relief to prevent the Defendants from further damaging their
18   vacation owners, vacation owners for other companies in the industry, and other vacation
19   ownership companies and associations who could become the next victims of this
20   unscrupulous web of bad actors.
21                                     NATURE OF ACTION
22         12.    This lawsuit seeks to hold Defendants accountable for interfering with
23   Welk’s contracts with its owners and violating various state and federal laws.
24         13.    When customers agree to purchase Welk’s vacation ownership program,
25   they enter into valid, enforceable contracts with both Welk Resort Group, Inc., the
26   company that develops and manages Welk’s resorts, and Welk Resorts Platinum Owners
27   Association, the primary association that governs the interests of Welk’s program and its
28   members. All Welk owners automatically become a member of the Association. The
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 1   financial responsibilities of an Association member are similar to those faced by
 2   members in a homeowners’ association for a condominium or home – non-payment of
 3   fees by one member becomes the shared responsibility of the other members.
 4         14.   One of the contracts between new owners and Welk is the Purchase and
 5   Sales Agreement. Following this agreement, buyers who have requested financing from
 6   Welk execute a separate Promissory Note. Both of these contracts obligate the owner to
 7   make payments to Welk for: (1) the purchase of a Welk ownership, which provides the
 8   owner a right to reserve and stay at Welk’s various resorts using a means of exchange
 9   called Points; and (2) recurring fee obligations to the Association. The fees paid to the
10   Association benefit all owners because they are used to maintain and upgrade the resort
11   properties, and cover joint costs that help preserve and improve the quality and character
12   of the resorts, such as furnishings, landscaping, utility payments, and housekeeping
13   services.
14         15.   Despite being well-aware of the contractual relationships between Welk
15   Resort Group, the Association, and their vacation owners, TET markets itself to Welk
16   owners through radio and internet advertisements—and in person at events such as the
17   San Diego County Fair—claiming to be a “Consumer Protection Firm” offering a “100%
18   guarantee” that Timeshare Exit Team will “dissolve [their] timeshare contract … Safely.
19   Legally. Forever.” See Exhibit A. TET’s misleading marketing efforts are designed to
20   induce Welk owners and Association members to breach their contracts and obligations
21   with Welk, and instead to enter into a contract with TET.
22         16.   After Welk owners are lured into retaining TET, TET representatives
23   instruct Welk owners to stop making their required payments to both Welk Resort Group
24   and the Association, and specifically advise that there will be no consequence to the
25   owners for failing to meet their contractual payment obligations. TET’s representatives
26   know that by giving owners this advice, owners will breach their valid and enforceable
27   agreements with Welk. Identifiable owners of Welk vacation ownership interests have
28   followed this advice from TET’s representatives and Welk has been damaged as a result.
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 1         17.     The instructions from TET’s representatives are then furthered by the
 2   attorneys that TET retains. These law firms, including Ken B. Privett, PLC (“Privett”)
 3   and Schroeter Goldmark & Bender, P.S. (“SGB”), do not represent the Welk owners
 4   who paid TET. On information and belief, these firms do not meet with or speak to the
 5   Welk owners. Their agreement with TET prohibits them from representing Welk owners
 6   and in fact explicitly states that these law firms “represents [TET] only and not its
 7   customers [i.e. Welk owners who have retained TET].” See Exhibit C.
 8         18.     TET and their cadre of attorneys then conspire to send generic, one-page
 9   form letters to Welk. In these letters, the attorneys falsely claim to represent the owners.
10   See Exhibit B. The letters simply request that Welk release the owner from his or her
11   contractual obligations; they do not identify any disputes or any legal basis for voiding
12   the owners’ contracts. Id. These attorneys fail to provide specific information about the
13   nature of the owners’ purported (and in many cases, non-existing) disputes—despite
14   multiple requests by Welk for any details whatsoever. Welk is informed and believes that
15   the owners are often not even aware that they are “represented” by these law firms, and
16   that they are not even aware of, much less consent to, the trivial, one-size-fits-all letters
17   being sent.
18         19.     The attorneys’ letters also instruct Welk not to communicate with the
19   owners, and to communicate only with the attorneys purportedly representing the owners.
20   This prevents Welk from communicating with the owner to help resolve his or her
21   concerns, and also prevents the owner from receiving collection notices and
22   correspondence from Welk about the delinquency and foreclosure of the vacation
23   ownership. As a result, owners “represented” by TET are under the false impression that
24   they have been “released” from their contractual obligations to Welk, when in fact what
25   really happened was that they fell delinquent and were foreclosed upon. This, of course,
26   subjects Welk owners to potential legal action to collect their outstanding debts, and
27   negatively impacts their credit, contrary to Defendants’ patent misrepresentations that the
28   owners will suffer no consequence from not paying Welk.
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 1         20.    On information and belief, TET uses its fraudulent marketing scheme to
 2   develop leads that it then sells to attorneys and law firms such as Privett and SGB, in
 3   violation of California laws prohibiting non-attorneys from obtaining business for law
 4   firms in exchange for compensation, and without registering as a Lawyer Referral
 5   Service with the California Bar (which is required by Business & Professions Code §
 6   6155 and California Rules of Professional Conduct, Rule 1-320 (Financial Arrangements
 7   with Non-Lawyers)).
 8         21.    These law firms, including Privett and SGB, conduct little to no
 9   investigation of any Welk owner’s purported dispute; they have little to no direct contact
10   with most of the Welk owners that they purport to represent; and instead they are simply
11   acting at TET’s direction in return for a slice of the fee that TET has wrongfully and
12   illegally diverted to themselves.
13         22.    TET and its co-conspirators have developed and executed this illegal fee-
14   splitting scheme in order to collect and profit from fees that they obtain from Welk’s
15   owners—fees that otherwise would have been used to pay Welk for amounts properly
16   owed to Welk Resort Group and the Association.
17         23.    Defendants’ fraudulent scheme has caused Welk owners to breach their
18   vacation purchase contracts and become delinquent in their payment obligations to Welk,
19   and has wrongfully routed hundreds of thousands of dollars into Defendants’ coffers that
20   would otherwise have been used to pay down financing debts and association fees
21   rightfully owed to Welk and the Association. For example, on January 20, 2016, two
22   Welk owners contacted Welk via letter, stating that they had “spoken to … Timeshare
23   Exit Team (855) 577-0626 … [who] assured me that the case … justifies the cancellation
24   of our timeshare with your resort.” On April 16, 2016, a Welk owner contacted a Welk
25   employee via email, and stated, “We have contacted Timeshare Exit Team and they have
26   assigned [a law firm] to file civil suit. They have advised the process will take 6-8
27   months to obtain the Mutual Release.” Welk never received a lawsuit filed on behalf of
28   the owner.
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 1         24.   On April 27, 2016, two Welk owners duped by TET into believing that TET
 2   has some type of direct business relationship with Welk filed a civil lawsuit in the
 3   Superior Court of California, County of San Diego, naming Welk and TET as co-
 4   defendants. The owners complained that “… Defendant [TET], has a particularly cozy
 5   (yet purportedly arms-length) relationship with the other defendants in that an exit
 6   agreement between [TET] and [the owners] is built into the timeshare purchase
 7   transaction whereby [the owners] purportedly agree to sell their timeshare interest to
 8   [TET] (instead of back to the [Welk] directly) for a set price). However, this set price
 9   ($5795 for [the owners]) is unconscionably high … the relationship between [TET] and
10   [Welk] is not an arms-length relationship, that [TET] is not a third party with respect to
11   [Welk] and that [Welk has] a material interest in either this purported exit agreement or
12   in the purported exit fee associated with invoking the exit agreement.” These allegations
13   were false. Welk was damaged by this insofar as it had to settle the owners’ lawsuit under
14   confidential terms and expended legal fees defending the case, and suffered harm to its
15   reputation from being associated with Defendants’ illegal scheme.
16         25.   As a further illustration of how Defendants’ illegal scheme works, on or
17   about July 3, 2017, a Welk employee attended the San Diego County Fair at the Del Mar
18   Fairgrounds. The employee stopped at a TET booth present at the fairgrounds’ exhibitor
19   area. See Exhibit D. Defendants’ representative (Angie Poole) made numerous false
20   promises to the individual in order to secure business in an attempt to interfere with
21   Welk’s operations. Specifically, Defendants represented:
22               a. That the individual could “stop paying on the timeshare” in order to
23                   afford TET’s services;
24               b. That TET works with experienced attorneys who “guarantee” they will
25                   get people out of their contracts;
26               c. That TET “does business with Welk”;
27               d. That TET instructs owners to “stop paying” on their ownerships and that
28                   this activity “won’t negatively affect” their credit; and
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 1                 e. That exit from an ownership is “guaranteed” and all credit repair is also
 2                    “guaranteed” if credit has been negatively affected.
 3          26.    Ms. Poole also stated that the cost of service from TET would be
 4   approximately “$2,000 to 5,000” up front.
 5          27.    As a result of Defendants’ wrongful conduct, Welk has suffered monetary
 6   and non-monetary damages, and seek redress for Defendants’ illegal acts, as well as
 7   declaratory and injunctive relief to end Defendants’ illegal practices and prevent further
 8   losses to Welk Resort Group and the Association.
 9                                            PARTIES
10          28.    Welk Resort Group is a corporation organized and existing under the laws
11   of the State of California, with its principal place of business in San Marcos, California. It
12   develops and manages high-quality resort properties in California, Missouri, and Mexico.
13   As part of its operations, Welk, through an affiliate, offers vacation ownerships for sale at
14   its resort locations.
15          29.    The Association is a non-profit corporation organized and existing under the
16   laws of the State of California, with its principal place of business in San Marcos,
17   California. Customers who make vacation ownership purchases with Welk become
18   members of the Association.
19          30.    Plaintiffs are informed and believe, and on that basis aver, that Defendant
20   Reed Hein & Associates, LLC (also known as “ReedHein & Associates,” or “ReedHein”)
21   is a limited liability company, organized and existing under the laws of the State of
22   Washington, with a corporate office in Lynnwood, Washington, of which Brandon Reed
23   (“Reed”) and Trevor Hein (“Hein”) are the sole members.              Reed is an individual
24   domiciled in King County, Washington, and is a citizen of the State of Washington.
25   Hein is an individual domiciled in Surrey, British Columbia, Canada, and is a citizen of
26   the country of Canada.
27          31.    Plaintiffs are informed and believe that Defendant Timeshare Exit Team
28   (“TET”), is an alter-ego dba of ReedHein, operating out of ReedHein’s corporate office
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 1   located in Lynnwood, Washington, and having the same principal place of business as
 2   ReedHein.
 3         32.     Plaintiffs are informed and believe that at all times herein mentioned,
 4   Defendants ReedHein and TET were the alter egos, agents, servants, accomplices, and/or
 5   employees of each other, acting within the course and scope of said relationships, and
 6   whose acts or omissions averred herein were authorized, adopted, approved or ratified by
 7   each other.
 8         33.     Plaintiffs are informed and believe that Defendant SGB is a professional
 9   corporation, organized and existing under the laws of the State of Washington, with its
10   principal place of business in Seattle, Washington.
11         34.     Plaintiffs are informed and believe that Defendant Privett is a limited
12   liability company, organized and existing under the laws of the State of Oklahoma, with
13   its principal place of business and corporate office in Pawnee, Oklahoma, of which Ken
14   B. Privett is the sole member. Ken B. Privett is an individual domiciled in Pawnee
15   County, Oklahoma, and is a citizen of the State of Oklahoma.
16                                        JURISDICTION
17         35.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
18   because a federal question is presented under both the Civil RICO Act, 18 U.S.C. § 1961,
19   and the Lanham Act, 15 U.S.C. § 1125(a).              Finally, this Court has supplemental
20   jurisdiction pursuant to 28 U.S.C. § 1367 over all other state law claims that are so
21   related that they form a part of the same case or controversy.
22         36.     This Court may exercise personal jurisdiction over all Defendants because
23   this action arises out of and is related to Defendants’ purposeful contacts with the State of
24   California.
25                                               TET
26         37.     TET (i) solicits owners of vacation ownership interests, many of whom
27   reside in California and/or whose vacation ownership interests are located in California,
28   through the use of false, misleading and deceptive advertising, and (ii) intentionally
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 1   interferes with the contracts between Welk, a California corporation, and owners of Welk
 2   vacation ownership interests, as well as the Association and its members
 3         38.    TET’s internet-based operations subject them to personal jurisdiction in the
 4   state of California.   TET solicits owners of California vacation ownership interests
 5   through the use of false, misleading, and deceptive advertising it contains on its website,
 6   http://www.timeshareexitteam.com. This website is not a passive advertising website.
 7   TET solicits and receives the contact information of owners of California vacation
 8   ownership interests through the website, which involves the repeated transmission of
 9   computer files over the internet and allows owners of California vacation ownership
10   interests to exchange their contact information with a host computer. See e.g. Exhibit G.
11         39.    TET commits tortious acts in the state of California, specifically, tortious
12   interference with contractual relationships between Welk Resort Group, the Association,
13   and owners of Welk vacation ownership interests, as well as the Association and its
14   members. TET instructs owners of Welk vacation ownership interests to cease making
15   valid payments of maintenance fees, promissory notes and loan payments to Welk, which
16   damages Welk.
17         40.    TET also executes agreements with owners of Welk vacation ownership
18   interests, some of whom own vacation ownership interests in California. TET is to
19   perform these agreements, in whole or in part, in California, in that TET is to negotiate
20   with Welk to secure the release of any future obligations the owners of Welk vacation
21   ownership interests owe to Welk, together with the cancellation of the owners’ contracts
22   with Welk. To effect the cancellation, TET instructs its retained attorneys, SGB and
23   Privett, to mail letters addressed to Welk in California.
24                                              Privett
25         41.    Privett commits tortious acts in furtherance of the scheme in the state of
26   California, specifically, tortious interference with contractual relationships between Welk
27   and owners of Welk vacation ownership interests.
28         42.    Many of the owners of Welk vacation ownership interests, who are
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 1   purportedly represented by Privett, reside in California and/or own a vacation ownership
 2   interest located in California.
 3         43.    TET retains Privett on behalf of TET’s clients in order to effectuate the
 4   promised “exit.” After TET representatives instruct owners of Welk vacation ownership
 5   interests to stop making any payments to Welk and the Association, TET instructs Privett
 6   to contact Welk in California in writing, by phone, and by e-mail on behalf of TET in the
 7   name of the owners of Welk vacation ownership interests in order to negotiate settlement
 8   and cancellation of the Welk vacation ownership agreements.
 9         44.    These communications are directed to Welk in California and serve further
10   the interference between the contractual relationships between Welk and owners of Welk
11   vacation ownership interests.
12                                              SGB
13         45.    SGB commits tortious acts in furtherance of the scheme in the state of
14   California, specifically, tortious interference with contractual relationships between Welk
15   and owners of Welk vacation ownership interests.
16         46.    Many of the owners of Welk vacation ownership interests, who are
17   purportedly represented by SGB, reside in California and or own a vacation ownership
18   interest located in California.
19         47.    TET retains SGB on behalf of TET’s clients in order to effectuate the
20   promised “exit.” After TET representatives instruct owners of Welk vacation ownership
21   interests to stop making any payments to Welk and the Association, TET instructs SGB
22   to contact Welk in California in writing, by phone, and by e-mail on behalf of TET in the
23   name of the owners of Welk vacation ownership interests in order to negotiate settlement
24   and cancellation of the Welk vacation ownership agreements.
25         48.    These communications are directed to Welk in California and serve further
26   the interference between the contractual relationships between Welk and owners of Welk
27   vacation ownership interests.
28         49.    This Court also has subject matter jurisdiction pursuant to 28 U.S.C. §1332
                                            -14-
                                  SECOND AMENDED COMPLAINT
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 1   (diversity jurisdiction). This Court has diversity jurisdiction over the subject matter of
 2   this action because the amount in controversy exceeds the sum or value of $75,000, and
 3   is between citizens of different states.
 4         50.    Together, Welk’s monetary damages and the injunctive relief sought, which
 5   would preserve the value of Welk’s contracts with current owners and members and
 6   allow for cost savings obtained by the cessation of Defendants’ tortious conduct, is
 7   valued at well over $75,000.
 8                                     VENUE AND FORUM
 9         51.    Venue and forum are proper in the Southern District of California, pursuant
10   to Title 28, U.S.C. § 1391(b), because a substantial part of the events or omissions on
11   which Plaintiffs’ claims are based occurred in this District, including the wrongful
12   actions of the Defendants.
13                                   GENERAL AVERMENTS
14         52.    At the time a purchaser buys a Welk vacation ownership, each customer
15   executes a written purchase and sale agreement (“Purchase Agreement”). In addition,
16   and pursuant to the Purchase Agreement, Welk vacation ownership owners also become
17   members of the Association, and agree to pay maintenance fees, also known as Vacation
18   Owner Association Dues (“VOA Dues”), to the Association, which enables the
19   Association and Welk to maintain their high service standards and resort quality.
20         53.    If a purchaser requests financing, he or she may execute and deliver a
21   promissory note (“Promissory Note”) in connection with the vacation ownership
22   purchase.
23         54.    Welk uses the revenue from the purchase of vacation ownership interests
24   and VOA Dues to invest in the development and perpetual improvement of its resorts and
25   services for the benefit of all owners and guests. They continually add new and improved
26   services for their members and constantly otherwise improve their member experience.
27         55.    Welk also actively and aggressively protects its proprietary business
28   practices and processes and its brand.      Welk has devoted substantial resources to
                                            -15-
                                  SECOND AMENDED COMPLAINT
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 1   advertising and other marketing promotions to increase the visibility and recognition of
 2   its products and to maintain and enhance the value of its brand. Welk competes directly
 3   with other developers and marketers of vacation services who target similar customers.
 4   The goodwill associated with Welk’s brand and its products is essential to Welk’s ability
 5   to effectively compete in a highly competitive marketplace.
 6         56.    On information and belief, Defendants are co-conspirators, acting in concert,
 7   and have been engaging in a scheme designed to disrupt Welk’s contractual relationships
 8   with its vacation owners and association members.
 9         57.    In order to lure vacation owners to hire TET, TET makes false and
10   misleading statements, including guarantees on its websites and procures celebrity
11   endorsements to sell its services to vacation owners, including Welk owners. TET’s
12   scheme consists of obtaining vacation ownership clients via digital marketing, radio
13   advertisements, in-person solicitation, and, on information and belief, direct mail
14   advertisements, within and outside of the State of California.
15         58.    On its website, TET advertises it will utilize its “process” to “get rid of”
16   owners’ vacation ownership contracts “Safely. Legitimately. Forever.”
17         59.    TET misrepresents to owners that any of its advertised reasons are legally
18   sufficient reasons to terminate a vacation ownership contract when, in fact, none of these
19   are legal bases for a vacation owner to cease making his or her payments under their
20   legally-binding contracts with a vacation ownership company, and to cease making his or
21   her payments to their Association.
22         60.    TET also assigns leads to TET representatives who use these same false and
23   misleading claims to lure owners, including Welk owners to breach their contractual
24   obligations. For example, on May 27, 2016, two former TET employees filed suit against
25   TET, alleging in their complaint that the company “assists timeshare owners in dissolving
26   their timeshare contracts” and would assign them “leads” and provide them “scripts” to
27   use with timeshare owners. See Anderson et al v. Reed Hein & Associates LLC. Docket
28   2:16-cv-00785-RSL W.D.Wash. (May 27, 2016).
                                           -16-
                                 SECOND AMENDED COMPLAINT
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 1         61.   It is at this point in TET’s advertised “unique strategy” that TET instructs
 2   vacation owners who have signed up with them and paid them thousands of dollars in an
 3   upfront sign-up fee –sometimes upwards of $5,000 – to cease paying any money to Welk
 4   or the Association on their vacation ownership obligations, such as owners’ Promissory
 5   Notes as well as the maintenance fees due pursuant to the Purchase Agreement.
 6         62.   By doing so, TET misrepresents to the owners, including Welk owners, that
 7   vacation ownership companies will be more willing to allow the owners to “exit” their
 8   vacation ownership. TET further:
 9               a. Misrepresents to Welk owners that TET has a preexisting agreement with
10                  Welk or otherwise does business with Welk to guarantee termination of
11                  any purchase contracts;
12               b. Misrepresents to Welk owners that TET can guarantee that there will not
13                  be any negative credit reporting by Welk or that any prior negative credit
14                  reporting by Welk can be eliminated;
15               c. Misrepresents to Welk owners that stopping payment on a Welk contract
16                  or on Association dues will not affect their credit or constitute a breach of
17                  their contracts with Welk;
18               d. Sends unsolicited and/or        knowingly fraudulent       and   misleading
19                  correspondence to Welk owners regarding their contractual obligations;
20               e. Deceptively represents to Welk owners, among other things, that TET
21                  “guarantees” to permanently eliminate their contractual obligations; and
22               f. Solicits Welk owners to pay TET in lieu of paying on their contractual
23                  obligations to Welk and the Association.
24         63.   TET’s actions are unlawful, as they impermissibly interfere with the
25   contractual relationship between Welk and Welk owners and members through false and
26   deceptive means.
27         64.   On information and belief, after obtaining a lead through this marketing
28   scheme, TET passes the lead to a rotating band of attorneys and/or law firms such as
                                          -17-
                                SECOND AMENDED COMPLAINT
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 1   SGB and Privett, while sharing a flat fee in exchange for the referral. (For example, on
 2   July 6, 2016, TET’s CEO Brandon Reed told USAToday.com that “his company uses
 3   lawyers ‘to get the resort to take the timeshare back.’” See Exhibit E.) TET collects a
 4   flat fee from owners, including Welk owners, totaling $5,000 or more, depending on the
 5   amount of their outstanding vacation ownership debt to Welk, which they split among
 6   and between TET and the law firms it retains, including SGB and Privett.
 7         65.    Pursuant to master fee agreements between TET and these law firms,
 8   including Privett and SGB, TET is prohibited from representing to TET customers that
 9   the attorneys hired by TET are the TET customer’s attorney.            See Exhibit C.
10   Nonetheless, TET representatives have stated to identifiable Welk owners that the
11   attorneys working on the Welk owners’ alleged negotiations were “their” attorneys – a
12   completely misleading and false statement.
13         66.    As one of the final steps to convince owners to retain them, TET provides a
14   chart outline the cost of paying the owner’s vacation ownership company as compared to
15   paying TET for its services. On information and belief, TET provided an identifiable
16   Welk owner a chart similar to the one contained within Exhibit F, which calculated the
17   cost of paying annual maintenance fees plus special assessments in the amount of
18   $20,122.00 for the next 15 years, together with total future loan payments in the amount
19   of $24,086.00, for a total of $44,208.00 versus paying $6,995.00. Printed over the final
20   comparison figures, TET asks a simple question: “Which of these would you rather
21   pay?” Of course, the chart leaves out the fact that paying Welk gets the owner high-
22   quality resort vacations, while paying TET leaves the owner with a foreclosure and
23   destroyed credit.
24         67.    TET seeks out vacation owners, including Welk owners, to pay money to
25   them instead of to the owners’ vacation ownership companies. Specifically, TET seeks
26   to divert money that Welk owners owe to Welk, from Welk to TET instead.
27         68.    According to TET’s website, after signing TET’s retainer documents,
28   owners are then assigned an “Account Coordinator who [becomes their] main point of
                                          -18-
                                SECOND AMENDED COMPLAINT
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 1   contact during [the owner’s] entire process. No general 800 phone numbers or endless
 2   automated phone systems while trying to reach Customer Service.            [The] Account
 3   Coordinator will explain how the process works and will provide [the owner] with status
 4   updates throughout the exit process.”      In fact, however, the e-mail updates that Welk
 5   owners have received are scant, non-specific, and designed to string along Welk owners
 6   into believing that actual work is being done on their behalf.
 7         69.    Thereafter, TET begins what it misleadingly refers to as its “negotiation
 8   process” with the owners’ vacation ownership companies, including Welk.             On its
 9   website, TET states that the “specifics of the process will depend on your ownership
10   situation and how the resort responds to our requests,” but, notwithstanding the fact that
11   TET has “a skilled in-house team,” TET “will retain an attorney on your behalf if
12   needed.” TET promises “exit” or it will refund the entirety of the fee to the owners.
13         70.    TET’s representation that it negotiates on behalf of owners is false. In fact,
14   TET’s “skilled in-house team” is not doing any work to negotiate anything at all.
15   Instead, TET “retains” its co-conspirator law firms and attorneys, including Privett and
16   SGB, to communicate with the vacation ownership companies. TET’s relationship with
17   its attorneys is pursuant to master fee agreements by which TET agrees to pay these law
18   firms a cut of the fee TET obtains at sign-up—$1,200.00 per owner. TET also promises
19   to send law firms at least 800 files a month, meaning that firms such as Privett and SGB
20   make at least $960,000.00 per month on this scheme. See Exhibit C. Of course, since
21   the firms receive only a flat fee of $1,200.00 per file and their client is TET, not the
22   owners, they have no incentive to spend time investigating any particular owner’s issues,
23   no incentive to assist owners with real disputes, and no incentive to engage in owner-
24   specific negotiations.
25         71.    Once a “file” is referred to TET’s co-conspirator law firms and attorneys,
26   including Privett and SGB, these law firms then contact Welk in order to “negotiate” an
27   exit of the vacation ownership contract.
28         72.    Indeed, Privett in Oklahoma sends boilerplate representation letters to Welk
                                           -19-
                                 SECOND AMENDED COMPLAINT
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 1   simply stating that “we want to terminate the above referenced owners’ obligations with
 2   your timeshare company.” However, no factual information is provided to Welk about
 3   the purported dispute, other than the fact that the vacation owners are interested in exiting
 4   their ownership. For example, the attorneys make no specific claims on their “clients’”
 5   behalves, and instead demand that Welk no longer contact the vacation owners directly,
 6   as they are represented by counsel in this unidentified dispute. On information and
 7   belief, many owners are never contacted by their “attorney” or law firm after they are
 8   solicited by TET to breach their Welk contracts; they are not aware what outside attorney
 9   is acting and communicating on their behalf; and they have no direct relationship or
10   contact with “their attorney.”         These letters, together with any subsequent
11   correspondence, telephone calls, and e-mails, which also instruct Welk not to contact the
12   Welk owner Privett purportedly “represents,” serve to further TET’s interference with the
13   contractual relationships between Welk and the Welk owners.
14         73.    SGB in Washington is also retained by TET and sends letters to Welk on an
15   entirely non-legal basis of “on behalf” of Welk owners who have also never met any of
16   the lawyers at SGB. SGB’s letters to Welk simply state that their purported clients “are
17   interested in terminating their time share memberships. With the lone exception of
18   forwarding routine billings to the client via mail, you are hereby notified not to contact
19   our clients in any format.” The letters are “one size fits all” correspondence whose
20   purpose is merely to forbid Welk from communicating with Welk owners. These letters,
21   together with any subsequent correspondence, telephone calls, and e-mails, serve to
22   further TET’s interference with the contractual relationship between Welk and Welk
23   owners.
24         74.    Because the vacation owners are purportedly represented by counsel,
25   vacation ownership companies, including Welk, are forbidden from communicating with
26   the owners. Accordingly, these owners are completely unaware – until they learn that
27   their default has been reported on the owner’s credit report – that TET, Privett, and SGB
28   are accomplishing absolutely nothing for them except for interference with the contracts
                                           -20-
                                 SECOND AMENDED COMPLAINT
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 1   they hold with Welk.
 2         75.    Meanwhile, as Welk waits for TET’s co-conspirators to provide factual
 3   support for any kind of valid dispute as to the ownership (which almost never arrives), it
 4   receives no payments on the affected owners’ Purchase Agreements per the advice given
 5   to the owners by Defendants, and the Association receives no payment for outstanding
 6   dues. These breaches inevitably result in negative reporting to credit agencies against the
 7   owners, contrary to TET’s advertising and express representations to the owners. In
 8   addition, the lack of Association payments encumber other owners with increasing fees in
 9   order to maintain improvements and quality of the resorts.
10         76.    On information and belief, TET pays fees to Privett and SGB for their
11   services in furtherance of TET’s scheme pursuant to master fee agreements by which
12   Privett and SGB are paid a portion of the TET upfront fee and promised a volume of
13   hundreds of files every month. See Exhibit C.
14         77.    To date, TET’s false, deceptive, and misleading advertising has caused
15   identifiable Welk owners to retain TET and, at TET’s instructions, (1) to stop making
16   payments on their Promissory Notes they signed when they purchased their vacation
17   ownership interest, and (2) to stop paying maintenance and other fees to the Association
18   they contractually committed to pay. Privett and SGB further TET’s scheme to damage
19   Welk by sending representation letters rife with false or non-existent legal grounds for
20   termination (and in some case no reasons at all) and by forbidding Welk to communicate
21   with Welk owners. These Defendants engaged in this arrangement together for their
22   collective pecuniary benefit.
23         78.    Altogether, Defendants intentionally and unjustifiably interfered with
24   Welk’s contractual business relationships with Welk owners by luring them with false,
25   deceptive, and misleading advertising, and through direct promises, and advising them to
26   breach their contractual relationships without any valid grounds, in exchange for a fee
27   and the false assurance that there will be no harm to their credit scores and that they will
28   be “exited” from their ownership “Safely. Legally. Forever.”
                                           -21-
                                 SECOND AMENDED COMPLAINT
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 1          79.    As a direct and proximate result of Defendants’ intentional and unjustified
 2   interference with Welk’s contractual relationships with Welk owners – and in furtherance
 3   of their fraudulent scheme – Welk has been damaged. To be sure, Defendants’ scheme
 4   has cost Welk approximately $5.68 million worth of loan balances that it would have
 5   otherwise received through Welk’s contractual relationship with its owners.
 6   Additionally, Defendants’ scheme has caused in excess of $256,000.00 worth of yearly
 7   VOA Dues owed to the Association by Welk owners, pursuant to the Purchase
 8   Agreements, to go into default as of today.            The long-term damage caused by
 9   Defendants’ intentional interference and fraudulent scheme, through the loss of
10   contractually obligated VOA Dues, is approximately $9.8 million.
11                                 FIRST CLAIM FOR RELIEF
12       INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS
13                                     Against All Defendants
14          80.    Plaintiffs incorporate averments set forth in paragraphs 1-79 above, as if set
15   forth in full herein.
16          81.    As averred herein, Plaintiffs have valid and enforceable contracts with Welk
17   owners.
18          82.    Defendants had knowledge of the existence of those contracts between
19   Plaintiffs and Welk owners.       The very fact that Welk owners have contracts with
20   Plaintiffs is the basis under which Defendants sought to establish a relationship with
21   Welk owners.
22          83.    Defendants sought to capitalize on Plaintiffs’ contractual relationships with
23   Welk owners by soliciting them through TET’s false and misleading advertising and
24   promises, fraudulently inducing them to pay large upfront fees to TET, and fraudulently
25   inducing them to stop making payments to Plaintiffs notwithstanding Welk owners’
26   legally enforceable contracts with Plaintiffs. Indeed, TET’s advertises on its website that
27   it is dedicated to assisting owners to get out of their contracts, and states boldly that “our
28   personal GUARANTEE to you is that our team of consumer advocates will get your out
                                            -22-
                                  SECOND AMENDED COMPLAINT
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 1   of your timeshare, period.” See Exhibit G. In some instances, TET describes itself as a
 2   “Consumer Protection Firm,” while in others it states that it is not a law firm. TET has
 3   also advised vacation owners that they can easily terminate or void their contracts, such
 4   that the owners can walk away from any contractual obligation with no consequence
 5   whatsoever.
 6         84.     TET intended to disrupt the contracts between Welk and Welk owners, as
 7   they sent targeted correspondence directly to Welk owners advising them that TET could
 8   assist them in canceling or avoiding their vacation ownership obligations. In those
 9   marketing materials, among other false promises, TET advised that their services are
10   “GUARANTEED.”
11         85.     TET’s willful and fraudulent actions to induce parties with whom Plaintiffs
12   have valid contractual agreements to breach their agreements constitute intentional
13   interference with an existing contractual relationship.
14         86.     Furthermore, TET has intentionally, and without justification or privilege,
15   interfered with Plaintiffs’ existing contracts by inducing Welk owners to immediately
16   stop making any further payments under their contracts without any legal basis. Privett
17   and SGB advance and contribute to TET’s interference by sending representation letters
18   to Plaintiffs, providing no basis for termination of Welk owners’ contracts. Nonetheless,
19   TET conspires with SGB and Privett (among many other law firms) to send generic form
20   letters to Welk, wherein a law firm claims to represent the owners that TET has induced
21   to breach their contract. However, their attorneys never provide specific information
22   about the nature of the owners’ dispute—despite multiple requests by Welk for any
23   details whatsoever. Worse, Privett and SGB’s “representation” letters are fraudulent
24   because, despite their written representations to the contrary, neither Privett nor SGB
25   actually represents any Welk owner. To be sure, this is specifically prohibited by TET’s
26   master fee agreement it enters with Privett and SGB.          While this false claim of
27   representation is unknown to Plaintiffs, in order to comply with the law and other ethical
28   obligations, when Privett and SGB instruct Welk not to communicate with the owners
                                           -23-
                                 SECOND AMENDED COMPLAINT
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 1   further, and to communicate only to the attorneys purportedly representing the owners,
 2   Welk complies – all to Plaintiffs’ detriment.
 3         87.    Defendants’ intent is to harm Welk along with the owners, including
 4   disruption to and diminishment of Welk’s business, contractual relationships, and
 5   reputation. Collectively, Defendants’ actions were not made in good faith, but rather
 6   were made with purely mercenary reasons so as to earn and retain the large pre-paid
 7   retainer fee without actually providing any meaningful services to Welk owners and were
 8   done with the knowledge and purpose of injuring Plaintiffs or with knowledge that
 9   disruption of performance by Welk owners was certain or substantially certain to occur.
10         88.    Defendants’ conduct has disrupted Plaintiffs’ contracts with Welk owners,
11   threatens to continue to disrupt Plaintiffs’ contracts with Welk owners, and has made the
12   performance of Plaintiffs’ contracts with Welk owners more expensive and/or difficult.
13         89.    As a direct and proximate result of Defendants’ collective intentional
14   misconduct, Welk owners have terminated, or have sought to terminate, their contractual
15   relationship with Plaintiffs before the expiration of the terms of those contracts.
16         90.    Defendants did not have any justification or privilege in procuring the
17   breach of such contracts.
18         91.    As a direct and proximate result of Defendants’ intentional and unjustified
19   interference with Welk’s contractual relationships with Welk owners – and in furtherance
20   of their fraudulent scheme – Plaintiffs have suffered damages. To be sure, Defendants’
21   scheme has cost Welk $5.68 million worth of loan balances that it would have otherwise
22   received through Welk’s contractual relationship with its owners.               Additionally,
23   Defendants’ scheme has caused $256,000.00 worth of yearly VOA Dues owed to the
24   Association by Welk owners, pursuant to the Purchase Agreements, to go into default as
25   of today. The long-term damage caused by Defendants’ intentional interference and
26   fraudulent scheme, through the loss of contractually obligated VOA Dues, is
27   approximately $9.8 million.
28         92.    Welk has also had to expend money, time, and energy in the form of hiring
                                           -24-
                                 SECOND AMENDED COMPLAINT
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 1   additional staff to manage the substantial volume of “exit” attorney letters coming from
 2   TET’s co-conspirator law firms, including Privett and SGB. Welk has also had to expend
 3   money, time, and energy maintaining its established contractual relationships with Welk
 4   owners. Furthermore, Welk has suffered reputational damage as a result of Defendants’
 5   conduct.
 6          93.    Defendants’ conduct was a substantial factor in causing Welk’s harm.
 7   Because of Defendants’ conduct, Welk is entitled to relief, including monetary damages
 8   and attorneys’ fees and costs.
 9          94.    Further, Defendants’ conduct was done maliciously, oppressively, and with
10   the intent to interfere with Welk’s existing contracts, all for Defendants’ illicit benefit at
11   Welk’s expense. Accordingly, Welk is entitled to punitive and exemplary damages from
12   Defendants, pursuant to California Civil Code section 3294 et seq., in an amount
13   sufficient to punish them for the tortious conduct averred herein and to dissuade them and
14   others similarly situated from engaging in such conduct in the future.
15                               SECOND CLAIM FOR RELIEF
16         VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
17                                    ORGANIZATIONS ACT
18                       Against Defendant Reed Hein & Associates, LLC
19          95.    Plaintiffs incorporate averments set forth in paragraphs 1-94 above, as if set
20   forth in full herein.
21          96.    This claim arises under 18 U.S.C. § 1962(c), which provides in part: “it shall
22   be unlawful for any person employed by or associated with an enterprise engaged in, or
23   the activities of which affect, interstate or foreign commerce, to conduct or participate,
24   directly or indirectly, in the conduct of such enterprises’ affairs through a pattern of
25   racketeering activity.”
26          97.    TET, SGB and Privett are enterprises within the meaning of 18 U.S.C.
27   1961(4) that engaged in activities averred herein that affect or impact the state of
28   California, to wit: TET, SGB and Privett conspired to unlawfully disrupt the contracts
                                            -25-
                                  SECOND AMENDED COMPLAINT
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 1   between Welk and Welk owners, when TET targeted Welk owners who own vacation
 2   ownership interests in California; advised them that they could assist them in canceling or
 3   avoiding their vacation ownership obligations and contracts; and then sold those owners
 4   as leads to SGB and/or Privett (or engaged in a fee-splitting arrangement with them).
 5         98.    Defendants acted in concert, and participated in the enterprise’s affairs
 6   through a pattern of racketeering activity, consisting of numerous and repeated uses of
 7   mail and wire communications, in order to execute a scheme to defraud Welk, the
 8   Association, and Welk owners.
 9         99.    On information and belief, TET sent or caused to be sent, materials by wire
10   for the purpose of executing the scheme. These activities amount to a material scheme to
11   defraud and obtain money on false pretenses, misrepresentations, promises, and/or
12   omissions. The materials include, but are not limited to, interstate website and digital
13   advertisements, phone calls, emails, and interstate credit card transactions.
14         100. On information and belief, TET sent or caused to be sent, materials via U.S.
15   mail or commercial interstate carriers for the purpose of executing the scheme. These
16   activities amount to a material scheme to defraud and obtain money on false pretenses,
17   misrepresentations, promises, and/or omissions. On information and belief, the materials
18   include, but are not limited to direct mail pieces, contracts, and letters promoting the
19   scheme.
20         101. The predicate acts which constitute this pattern of racketeering activity
21   include:
22                a. Beginning at least on or about July 1, 2017, and continuing today, TET
23                   caused the fraudulent use of interstate wires through TET’s Internet
24                   website, which states that “our personal GUARANTEE to you is that our
25                   team of consumer advocates will get you out of your timeshare, period.”
26                   This activity fraudulently induces Welk owners to breach their contract
27                   with Welk, in violation of 18 U.S.C. section 1343. See Exhibit G.
28                   Despite TET’s “guarantee,” TET actually does nothing to accomplish an
                                           -26-
                                 SECOND AMENDED COMPLAINT
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 1                   exit for Welk owners and instead advises them to cease all contractually
 2                   obligated payments owed to Plaintiffs, while advising them that their
 3                   failure to comply with their contractual obligations will have no impact
 4                   on them legally or otherwise.
 5                b. Beginning at least on or about November 30, 2016, and continuing today,
 6                   TET caused the fraudulent use of interstate mail to fraudulently induce
 7                   Welk owners to breach their contracts by offering and mailing loan
 8                   agreements to pay for any settlement with Welk, including credit card
 9                   transaction information, in violation of 18 U.S.C. section 1341. See
10                   Exhibit H.
11         102. These acts of racketeering, occurring within five years of one another,
12   constitute a pattern of racketeering activity within the meaning of 18 U.S.C. § 1961(5).
13         103. The enterprise was created and/or used as a tool to carry out the pattern of
14   racketeering activity.
15         104. TET has committed directly, or aided and abetted the commission of the
16   racketeering activities, and the acts pose a threat of continued racketeering activity, and
17   therefore constitute pattern as such.
18         105. TET knowingly and intentionally made these misrepresentations, acts of
19   concealment and failures to disclose. TET obtained money, and transferred money
20   between it and TET’s co-conspirators, as a result of these violations.
21         106. As set forth above, TET devised a scheme to defraud Welk owners in order
22   to obtain money by means of false or fraudulent representations or promises by
23   transmitting (through a pattern of racketeering activity – in interstate commerce) writings,
24   pictures, and other electronic media for the purpose of executing the scheme.
25         107. As the matters alleged in the preceding paragraphs show, TET committed
26   violations of 18 U.S.C. § 1962(c) by conducting the enterprise (in ways that affect
27   interstate commerce) through a pattern of racketeering activity, e.g., communicating its
28   campaign of false or fraudulent representations or promises to obtain money by using the
                                            -27-
                                  SECOND AMENDED COMPLAINT
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 1   mail and wires.
 2          108. A specific threat of repetition of the conduct exists since the conduct is
 3   TET’s regular way of conducting business and it continues to presently employ this
 4   solicitation and communication scheme.
 5          109. As a direct and proximate result of TET’s unlawful racketeering activity,
 6   Welk has been substantially harmed by Defendants’ actions and has suffered damages in
 7   an amount to be proven at trial. This includes, but is not limited to, a loss of $5.68
 8   million worth of loan balances, a $256,000.00 loss of VOA Dues owed to the Association
 9   by Welk owners, pursuant to the Purchase Agreements, which have gone into default, and
10   a $9.8 million loss of future VOA Dues – all money that Plaintiffs would have received
11   through Welk’s contractual relationship with its owners, but for TET’s racketeering
12   activity.
13          110. Under the provisions of 18 U.S.C. §1964(c), TET is liable to Welk for three
14   times the damages that Welk suffered, plus costs of brining the suit, and reasonable
15   attorney’s fees in connection herewith.
16                                THIRD CLAIM FOR RELIEF
17                                     CIVIL CONSPIRACY
18                                     Against All Defendants
19          111. Plaintiffs incorporate averments set forth in paragraphs 1-110 above, as if set
20   forth in full herein.
21          112. Defendants are parties to a civil conspiracy.
22          113. Defendants conspired to do an unlawful act.
23          114. Defendants conspired to interfere with Welk’s contractual relationships with
24   Welk owners.
25          115. Defendants each performed one or more overt actions in furtherance of their
26   conspiracy, including without limitation:
27                 a. TET uses misleading advertising and promises to lure Welk owners to
28                     obtain TET’s services;
                                            -28-
                                  SECOND AMENDED COMPLAINT
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 1               b. Once retained, TET encourages Welk owners to breach their contracts
 2                  with Welk even though they have no legal basis to do so;
 3               c. At TET’s direction, Privett sends representation letters purporting to
 4                  represent Welk owners which state false legal bases to Welk in
 5                  furtherance of TET’s interference between Welk and Welk owners, and
 6                  TET pays a portion of vacation owners’ fees to Privett for this; and
 7               d. At TET’s direction, SGB sends representation letters purporting to
 8                  represent Welk owners, which state false legal bases to Welk in
 9                  furtherance of TET’s interference between Welk, and Welk owners, and
10                  TET pays a portion of vacation owners’ fees to SGB for this.
11         116. Additionally, as set forth above, Defendants agreed and conspired to violate
12   18 U.S.C. § 1962(c).
13         117. The predicate acts which constitute this pattern of racketeering activity
14   include:
15               a. Beginning at least on or about July 1, 2017, and continuing today, TET
16                  caused the fraudulent use of interstate wires through TET’s Internet
17                  website, which states that “our personal GUARANTEE to you is that our
18                  team of consumer advocates will get you out of your timeshare, period.”
19                  This activity fraudulently induces Welk owners to breach their contract
20                  with Welk, in violation of 18 U.S.C. section 1343. See Exhibit G.
21                  Despite TET’s “guarantee,” TET actually does nothing to accomplish an
22                  exit for Welk owners and instead advises them to cease all contractually
23                  obligated payments owed to Plaintiffs, while advising them that their
24                  failure to comply with their contractual obligations will have no impact
25                  on them legally or otherwise.
26               b. Beginning at least on or about November 30, 2016, and continuing today,
27                  TET caused the fraudulent use of interstate mail to fraudulently induce
28                  Welk owners to breach their contracts by offering and mailing loan
                                         -29-
                               SECOND AMENDED COMPLAINT
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 1                   agreements to pay for any settlement with Welk, including credit card
 2                   transaction information, in violation of 18 U.S.C. section 1341. See
 3                   Exhibit H.
 4         118. Defendants Privett and SGB each performed one or more overt actions in
 5   furtherance of the conspiracy, including without limitation:
 6                a. Beginning at least on or about January 12, 2017, Defendant Privett
 7                   conspired with other Defendants to cause the fraudulent use of interstate
 8                   mail in furtherance of Defendants’ scheme to fraudulently induce Welk’s
 9                   owners and members to breach their contracts with Welk, by sending a
10                   bare-bones, generic form letter to Welk, wherein the attorney claims to
11                   represent the owners that TET has induced to breach their contract, in
12                   violation of 18 U.S.C. section 1341. See Exhibit B. Welk is further
13                   informed and believes that the owners are often not even aware that they
14                   are “represented” by Defendant Privett, and that they are not even aware
15                   of, much less consent to, the trivial, one-size-fits-all letters being sent by
16                   Privett’s firm. TET’s lawyers instruct Welk not to communicate with the
17                   owners further, and to communicate only to the attorneys purportedly
18                   representing the owners. Accordingly, Welk can never inform those
19                   owners of the consequences of non-compliance with their obligations –
20                   all in furtherance of Defendants’ fraudulent racketeering scheme.
21                b. Beginning at least on or about March 1, 2017, Defendant SGB conspired
22                   with other Defendants to cause the fraudulent use of interstate mail in
23                   furtherance of Defendants’ scheme to fraudulently induce Welk’s owners
24                   and members to breach their contracts with Welk, by sending a bare-
25                   bones, generic, one-page form letter to Welk, wherein the attorney claims
26                   to represent the owners that TET has induced to breach their contract, in
27                   violation of 18 U.S.C. section 1341. See Exhibit B. Welk is further
28                   informed and believes that the owners are often not even aware that they
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                                  SECOND AMENDED COMPLAINT
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 1                   are “represented” by Defendant SGB, and that they are not even aware
 2                   of, much less consent to, the trivial, one-size-fits-all letters being sent by
 3                   SGB’s firm. TET’s lawyers instruct Welk not to communicate with the
 4                   owners further, and to communicate only to the attorneys purportedly
 5                   representing the owners. Accordingly, Welk can never inform those
 6                   owners of the consequences of non-compliance with their obligations –
 7                   all in furtherance of Defendants’ fraudulent racketeering scheme.
 8         119. Defendants intentionally conspired and agreed to directly and indirectly use
 9   income that was derived from a pattern of racketeering activity in their interstate
10   enterprise, acquired or maintained interest in the enterprise through a pattern of
11   racketeering activity, and conducted and participated in the conduct of the affairs of the
12   enterprise through this pattern.
13         120. Defendants knew that their predicate acts were part of a pattern of
14   racketeering activity and agreed to the commission of those acts to further the schemes
15   described herein. That conduct constitutes a conspiracy in violation of 18 U.S.C. § 1962.
16         121. As a direct and proximate result of Defendants conspiracy, the overt acts
17   taken in furtherance of that conspiracy, including the violation of 18 U.S.C. § 1962,
18   Plaintiffs have been injured in their business and property in that Plaintiffs have lost
19   $5.68 million worth of loan balances, $256,000.00 worth of VOA Dues owed to the
20   Association by Welk owners, pursuant to the Purchase Agreements, which have gone into
21   default, and $9.8 million of future VOA Dues – all money that Plaintiffs would have
22   received through Welk’s contractual relationship with its owners, but for Defendants’
23   conspiracy.
24         122. An injunction is also a viable form of relief for a cause of action for civil
25   conspiracy and, as a direct and proximate result of Defendants unlawful conduct, as
26   alleged herein, Plaintiffs are being irreparably harmed and are entitled to have
27   Defendants’ conduct enjoined and restrained.
28
                                           -31-
                                 SECOND AMENDED COMPLAINT
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 1                               FOURTH CLAIM FOR RELIEF
 2          VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
 3                                     Against All Defendants
 4          123. Plaintiffs incorporate averments set forth in paragraphs 1-122 above, as if set
 5   forth in full herein.
 6          124. Section 17200 of the California Business & Professions Code (“Unfair
 7   Competition Law” or “UCL”) prohibits any “unlawful,” “unfair” and “fraudulent”
 8   business practice.
 9          125. Defendants’ acts and practices, as averred herein, constitute unlawful, unfair
10   and fraudulent business practices, in violation of the UCL.
11          126. California Business and Professions Code section 17204 allows a person,
12   which includes a corporation, injured by unfair business acts or practices to prosecute a
13   civil action for violation of the UCL.
14          127. Defendants’ acts and practices, as averred herein, constitute unlawful
15   practices in that they are tortious, and, in particular, intentionally interfere with
16   contractual relations between Plaintiffs and their vacation owners and members, and
17   violate 18 U.S.C. § 1962(c) (Civil RICO) and 15 U.S.C. § 1125 (Lanham Act); and
18   Business and Professions Code sections 6150, et seq. (California’s Runners and Cappers
19   Act), 6155 (California’s Lawyer Referral law), 11245, et seq. (California’s Vacation
20   Ownership and Time-Share Act), and 17500, et seq. (California’s False Advertising Act).
21          128. Defendants have violated Business and Professions Code sections 6151 and
22   6152 by engaging in “Running and Capping,” the practice of non-attorney agents
23   obtaining business for an attorney or law firm for compensation, or soliciting other to
24   engage in running in capping. Defendants have also violated Business and Professions
25   Code sections 6155 and Article 1, Rule 3.700 of Title 3, Division 5, of the Rules of the
26   State Bar of California, by operating for the direct or indirect purpose, in whole or in part,
27   of referring potential clients to attorneys, and accepting such referrals, without complying
28   with the registration and other requirements of Business & Professions Code section
                                            -32-
                                  SECOND AMENDED COMPLAINT
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 1   6155.
 2           129. On information and belief, Defendant TET actively solicits Welk’s owners
 3   and members through the unfair and misleading practices described above. TET then
 4   contracts with Welk owners for a flat fee, determined by the amount the owners still owe
 5   to Welk. TET has preexisting agreements with outside attorneys (SGB and Privett) to
 6   write letters on the owners’ behalf, for a portion of the original flat fee, but explicitly
 7   precludes these firms from representing the owners directly. Although the outside
 8   attorneys write to Welk with the claim that they represent the owners, on information and
 9   belief, the attorneys do not represent their “clients, do not know the particulars of their
10   “clients’” cases, and instead attempt to negotiate a quick exit, without having to invest
11   time or money researching their position.
12           130. Any contract for professional services secured by any attorney at law or law
13   firm in California through the services of a runner or capper is void. Plaintiffs have been
14   substantially harmed by Defendants’ violations of Running and Capping laws, and are
15   entitled to relief, including injunctive relief, restitution for costs incurred associated with
16   Defendants’ actions, and disgorgement of all profits accruing to Defendants because of
17   their actions.
18           131. Additionally, any contract for professional services secured by any attorney
19   at law or law firm in California through the services in violation of Business and
20   Professions Code section 6155 is void. Plaintiffs have been substantially harmed by
21   Defendants’ violations, and are entitled to relief, including injunctive relief enjoining
22   Defendants from soliciting Plaintiffs’ vacation owners and members in violation of
23   California Referral Service laws, restitution for costs incurred associated with
24   Defendants’ actions, and disgorgement of all profits accruing to Defendants because of
25   their actions.
26           132. Defendants’ business practices, as detailed herein, are also unfair, as they are
27   unethical, oppressive, and unscrupulous, and they violate fundamental policies of this
28   State. Further, any justification for Defendants’ wrongful conduct is outweighed by the
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                                  SECOND AMENDED COMPLAINT
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 1   adverse effects of such conduct. Plaintiffs and vacation owners could not reasonably
 2   avoid the harm caused by Defendants’ wrongful practices. Furthermore, Defendants’ acts
 3   and practices constitute unfair business practices in that they misled consumers by
 4   making misrepresentations and untrue statements about their relationship and contractual
 5   obligations with Welk, their ability to guarantee an exit from their vacation ownership,
 6   and that Welk’s vacation owners and members would incur no consequences if they
 7   stopped paying on their contractual obligations.
 8         133. Assuming, arguendo, that Defendants’ practices are not express violations of
 9   the laws, those practices fall within the penumbra of such laws and a finding of
10   unfairness can properly be tethered to public policy. Thus, Defendants engaged in unfair
11   business practices prohibited by Business & Professions Code sections 17200, et seq.
12         134. Defendants’ business practices, as detailed herein, are also fraudulent, as
13   they misled consumers by making misrepresentations and untrue statements about their
14   relationship and contractual obligations with Welk, their ability to guarantee an exit from
15   their vacation ownership, and that Welk’s vacation owners and members would incur no
16   consequences if they stopped paying on their contractual obligations. On information and
17   belief, reasonable members of the public are likely to be deceived by Defendants’
18   misrepresentations and untrue statements.
19         135. As a direct and proximate result of Defendants’ unlawful, unfair, and
20   fraudulent business practices averred herein, Plaintiffs have suffered injury in fact. To be
21   sure, Welk has suffered significant damage, including $5.68 million worth of loan
22   balances that it would have otherwise received through Welk’s contractual relationship
23   with its owners, $256,000.00 worth of yearly VOA Dues owed to the Association by
24   Welk owners, pursuant to the Purchase Agreements, and $9.8 million worth of future
25   losses in VOA Dues contractually owed to Welk.
26         136. Plaintiffs have been injured in that they have had to expend money, time,
27   and energy in the form of hiring additional staff to manage the substantial volume of
28   “exit” letters coming from TET’s co-conspirator law firms, including Privett and SGB.
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                                 SECOND AMENDED COMPLAINT
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 1   Welk has also had to expend money, time, and energy maintaining its established
 2   contractual relationships with Welk owners.
 3          137. Welk has also suffered injury as a result of Defendants’ actions for which
 4   there is no adequate remedy at law. Welk is informed and believes and thereon avers that
 5   unless restrained by order of this Court, Defendants will continue the acts averred above,
 6   or similar acts.
 7          138. Because of Defendants’ unfair, unlawful and fraudulent business practices,
 8   Welk is entitled to relief, including restitution for costs incurred associated with
 9   Defendants’ solicitations and disgorgement of all profits accruing to Defendants because
10   of their unlawful and unfair business practices, injunctive relief, and attorneys’ fees and
11   costs pursuant to Code of Civil Procedure section 1021.5.
12                                FIFTH CLAIM FOR RELIEF
13         VIOLATION OF THE CALIFORNIA VACATION OWNERSHIP AND
14                                     TIME-SHARE ACT
15                       Against Defendant Reed Hein & Associates, LLC
16          139. Plaintiffs incorporate averments set forth in paragraphs 1-138 above, as if set
17   forth in full herein.
18          140. In California, the offering of time-share plans is regulated under the
19   Vacation Ownership and Time-Share Act of 2004 (“Time-Share Act”). See Cal. Bus. &
20   Prof. Code §§ 11210, et seq. The Time-Share Act has broad application to all time-share
21   plans with an accommodation or component site in California, and to such plans without
22   an accommodation or component site in California, if the plans are sold or offered to be
23   sold to any individual located within California. Cal. Bus. & Prof. Code §11211.
24          141. TET is an entity subject to the Time-Share Act as TET attempts to either
25   void Welk owners’ contracts and/or transfer the ownership to a third party, all in
26   exchange for Welk owners’ money.
27          142.   TET’s acts and practices, as averred herein, constitute false and misleading
28   advertisements in connection with timeshares, in violation of the Time-Share Act,
                                           -35-
                                 SECOND AMENDED COMPLAINT
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 1   California Business and Professions Code section 11245, et seq.
 2         143. California Business and Professions Code sections 11245 and 11285 allows
 3   a person, which includes a corporation, to prosecute an action for an injunction, damages,
 4   and/or declaratory relief, in connection with a timeshare, for any material
 5   misrepresentation that is false or misleading in connection with the timeshare, or for any
 6   material misrepresentation of an incidental benefit.
 7         144. TET has been sending and providing knowingly false and misleading
 8   information to Welk owners, advising them, among other things, that they are
 9   “guaranteed” to permanently eliminate all of their vacation ownership obligations, that
10   they have preexisting relationships with Welk, and that they would incur no damage to
11   their credit reports if they stop payments.
12         145. Moreover, as another example of TET’s wrongful practices, on or about July
13   3, 2017, a Welk employee attended the San Diego County Fair at the Del Mar
14   Fairgrounds. The employee stopped at a Timeshare Exit Team booth present at the
15   fairgrounds’ exhibitor area. See Exhibit D. The representative (Angie Poole) made
16   several false promises to the individual in order to secure business in an attempt to
17   interfere with Welk’s operations, including:
18                a. That the cost of service from TET would be approximately “$2,000 to
19                   $5,000” up front;
20                b. That the individual could “stop paying on the timeshare” in order to
21                   afford TET’s services;
22                c. That TET works with experienced attorneys who “guarantee” they will
23                   get people out of their contracts;
24                d. That TET “does business with Welk”;
25                e. That TET instructs owners to “stop paying” on their ownerships and that
26                   this activity “won’t negatively affect” their credit; and
27                f. That exit from an ownership is “guaranteed” and all credit repair is also
28                   “guaranteed” if credit has been negatively affected.
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                                  SECOND AMENDED COMPLAINT
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 1           146. Each of these representations made by TET, and its associates, was false and
 2   misleading, and in violation of California Business and Professions Code section 11245.
 3           147. As a direct and proximate result of TET’s knowingly false and misleading
 4   correspondence, as averred herein, Welk has suffered significant damage, including $5.68
 5   million worth of loan balances that it would have otherwise received through Welk’s
 6   contractual relationship with its owners, $256,000.00 worth of yearly VOA Dues owed to
 7   the Association by Welk owners, pursuant to the Purchase Agreements, and $9.8 million
 8   worth of future losses in VOA Dues contractually owed to Welk.
 9           148. Additionally, Welk has also had to expend money, time, and energy in the
10   form of hiring additional staff to manage the substantial volume of “exit” letters coming
11   from TET’s co-conspirator law firms, including Privett and SGB. Welk has also had to
12   expend money, time, and energy maintaining its established contractual relationships
13   with Welk owners. Furthermore, Welk has suffered reputational damage as a result of
14   TET’s violation of the Time-Share Act.
15           149. These damages are all a direct result of TET’s conduct, which was done to
16   mislead a reasonable vacation owner, including Welk owners.
17           150. Welk has also suffered injury as a result of TET’s actions for which there is
18   no adequate remedy at law. Welk is informed and believes and thereon avers that unless
19   restrained by order of this Court, TET will continue the acts averred above, or similar
20   acts.
21           151. Because of TET’s knowingly false and misleading scheme, Welk is entitled
22   to relief, including monetary damages, injunctive relief, and attorneys’ fees and costs.
23                                 SIXTH CLAIM FOR RELIEF
24            VIOLATION OF THE CALIFORNIA FALSE ADVERTISING LAW
25                       Against Defendant Reed Hein & Associates, LLC
26           152. Plaintiffs incorporate averments set forth in paragraphs 1-151 above, as if set
27   forth in full herein.
28           153. Pursuant to California Business and Professions Code 17500, et. seq., it is
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                                  SECOND AMENDED COMPLAINT
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 1   unlawful to engage in advertising “which is untrue or misleading, and which is known, or
 2   which by the exercise of reasonable care should be known, to be untrue or misleading.”
 3         154. Moreover, as another example of TET’s fraudulent and illegal advertising,
 4   on or about July 3, 2017, a Welk employee attended the San Diego County Fair at the Del
 5   Mar Fairgrounds. The employee stopped at a TET booth present at the fairgrounds’
 6   exhibitor area. See Exhibit D. The representative (Angie Poole) made several false
 7   promises to the individual in order to secure business in an attempt to interfere with
 8   Welk’s operations, including:
 9                  a. That the cost of service from TET would be approximately “$2,000 to
10                     $5,000” up front;
11                  b. That the individual could “stop paying on the timeshare” in order to
12                     afford TET’s services;
13                  c. That TET works with experienced attorneys who “guarantee” they will
14                     get people out of their contracts;
15                  d. That TET “does business with Welk”;
16                  e. That TET instructs owners to “stop paying” on their ownerships and that
17                     this activity “won’t negatively affect” their credit; and
18                  f. That exit from an ownership is “guaranteed” and all credit repair is also
19                     “guaranteed” if credit has been negatively affected.
20         155. TET misled consumers by making misrepresentations and untrue statements
21   about their relationship and contractual obligations with Plaintiffs, their ability to
22   guarantee an exit from their vacation ownership, and that Plaintiffs’ vacation owners and
23   members would incur no consequences if they stopped paying on their contractual
24   obligations.
25         156. As a direct and proximate result of TET’s false advertising practices averred
26   herein, Plaintiffs have suffered injury in fact.
27         157. Welk has suffered significant damage, including $5.68 million worth of loan
28   balances that it would have otherwise received through Welk’s contractual relationship
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 1   with its owners, $256,000.00 worth of yearly VOA Dues owed to the Association by
 2   Welk owners, pursuant to the Purchase Agreements, and $9.8 million worth of future
 3   losses in VOA Dues contractually owed to Welk.
 4          158. Additionally, Welk has also had to expend money, time, and energy in the
 5   form of hiring additional staff to manage the substantial volume of “exit” letters coming
 6   from TET’s co-conspirator law firms, including Privett and SGB. Welk has also had to
 7   expend money, time, and energy maintaining its established contractual relationships
 8   with Welk owners. Furthermore, Plaintiffs have suffered reputational damage as a result
 9   of TET’s conduct. TET’s conduct is such that it would also mislead a reasonable
10   vacation owner. Moreover, TET is profiting from its wrongful conduct in the form of fees
11   charged..
12          159. The misleading and false advertising described herein presents a continuing
13   threat to Plaintiffs in that TET persists and continues to engage in these practices, and
14   will not cease doing so unless and until forced to do so by a binding decision-maker.
15   Plaintiffs are entitled to preliminary and permanent injunctive relief ordering TET to
16   cease its false advertising.
17          160. Because of TET’s false advertising practices, Plaintiffs are entitled to relief,
18   including restitution for costs incurred associated with TET’s solicitations and
19   disgorgement of all profits accruing to TET because of its unlawful and unfair business
20   practices, injunctive relief, and attorneys’ fees and costs pursuant to Code of Civil
21   Procedure section 1021.5.
22                                  SEVENTH CLAIM FOR RELIEF
23               FALSE ADVERTISING IN VIOLATION OF THE LANHAM ACT,
24                                        15 U.S.C. § 1125(a)
25                           Against Defendant Reed Hein & Associates, LLC
26          161. Plaintiffs incorporate averments set forth in paragraphs 1-160 above, as if set
27   forth in full herein.
28          162. This is a cause of action for false advertising under the Lanham Act, 15
                                              -39-
                                    SECOND AMENDED COMPLAINT
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 1   U.S.C. § 1125(a), and is within this Court’s jurisdiction.
 2         163. TET’s advertised “timeshare exit” services travel in interstate commerce.
 3         164. TET misleadingly advertises on the Internet and radio, on its website and
 4   through celebrity endorsements, that it guarantees it will relieve vacation owners of their
 5   obligations if TET is retained.
 6         165. TET is in direct competition with Plaintiffs for the payments Welk owners
 7   owe to Plaintiffs. TET specifically seeks out Welk owners to make payments to TET
 8   instead of Plaintiffs.
 9         166. TET’s statements that it guarantees it will relieve vacation owners of their
10   obligations if TET is retained are false or misleading or made in bad faith.
11         167. TET deceived, or had the capacity to deceive, consumers, thereby having a
12   material effect on consumer purchasing decisions and resulting in damages to Plaintiffs.
13         168. As a direct and proximate result of TET’s false advertising practices averred
14   herein, Plaintiffs have suffered injury in fact.
15         169. Welk has suffered significant damage, including $5.68 million worth of loan
16   balances that it would have otherwise received through Welk’s contractual relationship
17   with its owners, $256,000.00 worth of yearly VOA Dues owed to the Association by
18   Welk owners, pursuant to the Purchase Agreements, and $9.8 million worth of future
19   losses in VOA Dues contractually owed to Welk.
20          170. Additionally, Welk has also had to expend money, time, and energy in the
21   form of hiring additional staff to manage the substantial volume of “exit” letters coming
22   from TET’s co-conspirator law firms, including Privett and SGB. Welk has also had to
23   expend money, time, and energy maintaining its established contractual relationships
24   with Welk owners. Furthermore, Plaintiffs have suffered reputational damage as a result
25   of TET’s conduct. TET’s conduct is such that it would also mislead a reasonable
26   vacation owner. Moreover, TET is profiting from its wrongful conduct in the form of fees
27   charged..
28         171. Additionally, an injunction is warranted here, and is a viable form of relief
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                                  SECOND AMENDED COMPLAINT
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 1   for violation of the Lanham Act. TET’s misleading and false advertising described
 2   herein presents a continuing threat to Plaintiffs as TET persists and continues to engage
 3   in these practices, and will not cease doing so unless and until forced to do so by a
 4   binding decision-maker. Plaintiffs are entitled to preliminary and permanent injunctive
 5   relief ordering TET to cease its false advertising.
 6                                            PRAYER
 7         Wherefore, Plaintiffs pray for judgment as follows:
 8                         AS TO THE FIRST CLAIM FOR RELIEF
 9         1.     For general and special damages proximately caused by Defendants’ tortious
10   conduct, as averred herein.
11         2.     For punitive damages.
12         3.     For attorneys’ fees.
13                        AS TO THE SECOND CLAIM FOR RELIEF
14         1.     For injunctive relief enjoining Defendants from soliciting Welk owners,
15   from false and misleading advertising, and from encouraging and/or offering to assist
16   them in breaching their vacation ownership obligations.
17         2.     For compensatory damages, in an amount to be proven at trial, which are in
18   excess of the jurisdictional minimum of this Court, including interest as permitted by law;
19         3.     For treble damages under the 18 U.S.C. 1964(c);
20         4.     For attorneys’ fees.
21                         AS TO THE THIRD CLAIM FOR RELIEF
22         1.     For injunctive relief enjoining Defendants from soliciting Welk owners,
23   from false and misleading advertising, and from encouraging and/or offering to assist
24   them in breaching their vacation ownership obligations.
25         2.     For compensatory damages, in an amount to be proven at trial, which are in
26   excess of the jurisdictional minimum of this Court, including interest as permitted by law;
27                       AS TO THE FOURTH CLAIM FOR RELIEF
28         1.     For injunctive relief enjoining Defendants from soliciting Welk owners,
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                                   SECOND AMENDED COMPLAINT
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 1   from false and misleading advertising, and from encouraging and/or offering to assist
 2   them in breaching their vacation ownership obligations.
 3         2.       For restitution.
 4         3.       For disgorgement of profits.
 5         4.       For attorneys’ fees pursuant to California Code of Civil Procedure section
 6   1021.5.
 7                           AS TO THE FIFTH CLAIM FOR RELIEF
 8         1.       For injunctive relief enjoining Defendants from soliciting Plaintiffs’
 9   vacation owners and members, from false and misleading advertising, and from
10   encouraging and/or offering to assist them in breaching their vacation ownership
11   obligations.
12         2.       For general and special damages proximately caused by Defendants’
13   conduct, as averred herein.
14         3.       For attorneys’ fees.
15                           AS TO THE SIXTH CLAIM FOR RELIEF
16         1.       For injunctive relief enjoining Defendants from soliciting Plaintiffs’
17   vacation owners and members, from false and misleading advertising, and from
18   encouraging and/or offering to assist them in breaching their vacation ownership
19   obligations.
20         2.       For restitution.
21         3.       For disgorgement of profits.
22         4.       For attorneys’ fees pursuant to California Code of Civil Procedure section
23   1021.5.
24                         AS TO THE SEVENTH CLAIM FOR RELIEF
25         1.       For injunctive relief enjoining Defendants from soliciting Plaintiffs’
26   vacation owners and members, from false and misleading advertising, and from
27   encouraging and/or offering to assist them in breaching their vacation ownership
28   obligations.
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 1         2.   For restitution.
 2         3.   For attorneys’ fees.
 3
 4                           AS TO ALL CLAIMS FOR RELIEF
 5         1.   For costs of suit herein.
 6         2.   For such other and further relief as this Court may deem just and proper.
 7
 8   Date: October 6, 2017                  GODES & PREIS, LLP
 9
10                                          By: /s/ Michael L. Kibbe
                                                James N. Godes
11                                              Michael L. Kibbe
12                                              Attorneys for Plaintiffs
                                                WELK RESORT GROUP,
13                                              INC. and WELK RESORTS
14                                              PLATINUM OWNERS
                                                ASSOCIATION
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                       EXHIBIT B
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                       EXHIBIT E
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                        EXHIBIT F
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                       EXHIBIT H
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 1                             CERTIFICATE OF SERVICE
 2
           I am employed in the County of Orange, State of California, am over the age
 3   of 18 and not a party to the within action. My business address is Godes & Preis
     LLP, 300 Spectrum Center Drive, Suite 1420, Irvine, CA 92618.
 4
 5         On the date set forth below, I served the foregoing documents described as
     SECOND AMENDED COMPLAINT on all interested parties in this action as
 6   follows:
 7
     [ X] BY CM/ECF NOTICE OF ELECTRONIC FILING - I caused said
 8   document(s) to be served by means of this Court's electronic transmission of the
     Notice of Electronic filing through the Court's transmission facilities, to the parties
 9
     and/or counsel who are registered CM/ECF Users set forth in the service list
10   obtained from this Court.
11   [ ] BY MAIL: I am "readily familiar" with Godes & Preis, LLP's practice for
12   collecting and processing correspondence for mailing with the United States Postal
     Service. Under that practice, it would be deposited with the United States Postal
13   Service that same day in the ordinary course of business. Such envelope(s) were
14   placed for collection and mailing with postage thereon fully prepaid at Irvine,
     California, on that same day following ordinary business practices.
15
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                                 CERTIFICATE OF SERVICE
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 7   Facsimile: 619 238-8707

 8         I declare that I am employed in the office of a member of the bar of this
 9   Court at whose direction this service was made.
10   [ x] (Federal) I declare under penalty of pe1jury under the laws of the United
11   State of America thatthe above is true and correct.

12         Executed on October 6, 2017, at Irw~ ~
13
14                                      DANIELLE FREDERICK

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                              CERTIFICATE OF SERVICE
